Case 2:23-bk-10990-SK   Doc 520-4 Filed 12/12/23 Entered 12/12/23 16:24:35   Desc
                              Exhibit D Page 1 of 23




        EXHIBIT D
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 Case2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
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                                               2 of 123of 19


  1   Baruch C. Cohen, Esq. (SBN 159455)
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  5   Attorney For Plaintiffs Robert & Esther Mermelstein
  6                              UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
  7                                  LOS ANGELES ANA DIVISION
  8

  9    In re                                                Case No. 2:23-bk-10990-SK

 10    LESLIE KLEIN,                                        Hon. Sandra Klein

 11            Debtor and Debtor in Possession,             Chapter 11

 12

 13    ROBERT & ESTHER MERMELSTEIN,                         COMPLAINT FOR
                                                            NONDISCHARGEABILITY
 14                        Plaintiffs                       OF DEBT PURSUANT TO 11 USC §
                                                            523(a)(2)(A), 11 USC § 523(a)(4), & 11
 15    vs.                                                  USC § 523(a)(6); & FOR DENIAL OF
                                                            DISCHARGE PURSUANT TO 11 USC
 16    LESLIE KLEIN                                         § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                            11 USC § 727(a)(3); 11 USC § 727(a)(4);
 17                       Defendant                         11 USC § 727(a)(5)

 18

 19
               TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
 20
      JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
 21
      PARTIES:
 22
               Plaintiffs-Creditors, Robert & Esther Mermelstein (“Plaintiffs”), complain for
 23
      nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
 24
      (“Defendant”), and alleges respectfully as follows:
 25
                                    CORE/NON-CORE DESIGNATION
 26
      1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
 27
               proceeding constitutes a core proceeding under 28 USC § 157(b)(2). Plaintiffs
 28
               acknowledge that the Court has the power to enter final orders and judgments in this
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 Case2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
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                                      D Page Page
                                               3 of 223of 19


  1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
  2         matter under FRBP Rule 7008..
  3                            JURISDICTION, VENUE & STANDING
  4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
  5         commenced in the United States Bankruptcy Court for the Central District of California
  6         (“Bankruptcy Case”). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
  7         USC §§ 157 and 1334.
  8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
  9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
 10         Bankruptcy Case under 11 USC § 101(10).
 11                                              PARTIES
 12   5.    The following is a description of the relevant parties involved in the facts forming the
 13         basis of this Complaint.
 14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
 15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
 16         California and who regularly conducted business from Los Angeles County, California.
 17         Defendant was a certified public accountant, formerly licensed by the State of California,
 18         and a former, and an attorney licensed by the State of California.1 Defendant is the debtor
 19         in the above-captioned Chapter 11 bankruptcy case.
 20   ///
 21

 22     1
              On September 10, 1992, the Supreme Court of the State of California, in State Bar
 23           Court Case No. 86-O-14258, ordered that Defendant be suspended from the practice
              of law for 18 months and further ordered that he take and pass the California
 24           Professional Responsibility Examination (“CPRE”). Defendant failed the November
              1993 and January 1994 CPREs. In Case No. 86-O-14258, Defendant admitted to
 25           intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
              of California, in State Bar Court Case No. 92-O-11716 (consolidated with Case Nos.
 26
              93-O-11825, 94-O-13951, 94-O12055, and 94-O15901) ordered that Defendant be
 27           suspended from the practice of law for one year. In Case No. 92-O-11716, as
              consolidated, Defendant admitted to willful violations of Rules of Professional
 28           Conduct concerning client trust accounts and conflicts of interest.

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 Case2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
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                                      D Page Page
                                               4 of 323of 19


  1                                    GENERAL ALLEGATIONS
  2   8.    The following general allegations form the background for the Plaintiffs’ claims for relief
  3         against Defendant.
  4   9.    Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
  5         beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
  6         “ Mermelstein Trust”).
  7   10.   Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
  8         “Klein Trust”) solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
  9         Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
 10         Zimmerman.
 11                                                GARZA
 12   11.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 13         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 14         Venture (the “Garza Memo”). The purpose of the Garza Memo, was to purchase a
 15         $1,000,000.00 life insurance Policy (“Garza Policy”); American General on the life of
 16         Emanuel Garza (“Garza”). In furtherance of the Garza Memo, Plaintiffs paid Klein
 17         $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
 18         make said payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the
 19         Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 20         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 21   12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 22         Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
 23         Mermelstein Trust to Robert & Esther Mermelstein.
 24   13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
 25         Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
 26         consent.
 27   14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
 28

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 Case2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
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                               Document
                                      D Page Page
                                               5 of 423of 19


  1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
  2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
  3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
  4                                         TIMES SQUARE
  5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
  6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
  7         Times Square Media Inc., containing a “Heter Iska” document (an approved way of
  8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
  9         Halacha - Jewish law).
 10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
 11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
 12                                               GANZ
 13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 14         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 15         Venture with plaintiffs (the “Ganz Memo”). The purpose of the Ganz Memo, was to
 16         purchase a $1,000,000.00 life insurance Policy (“Ganz Policy”); American General on
 17         the life of Emanuel Ganz (“Ganz”). In furtherance of the Ganz Memo, Plaintiffs paid
 18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
 19         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
 24         Mermelstein Trust to Robert & Esther Mermelstein.
 25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
 26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
 27         without Plaintiff’s consent.
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                                               6 of 523of 19


  1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
  2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
  3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
  4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
  5                                             SPITZER
  6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
  7         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
  8         Venture with Plaintiffs (the “Spitzer Memo”). The purpose of the Spitzer Memo, was to
  9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
 10         0023546L (“Spitzer Policy”); American General on the life of Malvine Spitzer
 11         (“Spitzer”). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
 12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
 13         payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
 14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
 15         $250,000 and all premiums paid of the proceeds).
 16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
 18         the Mermelstein Trust to Robert & Esther Mermelstein.
 19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
 20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
 21         this information from Plaintiffs.
 22                                              KOHN
 23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 24         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 25         Venture with Plaintiffs (the “Kohn Memo”). The purpose of the Kohn Memo, was to
 26         make premium payments of a $3,000,000.00 life insurance Policy (“Kohn Policy”);
 27         American General on the life of Eugene Kohn (“Kohn”). In furtherance of the Kohn
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 Case2:23-bk-10990-SK
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                                               7 of 623of 19


  1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
  2         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
  3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
  4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
  5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
  6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
  7         Trust to Robert & Esther Mermelstein.
  8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
  9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
 10         Policy - without Plaintiffs’ consent - to Life Capital Group, LLC (“LCG”), where Shlomo
 11         Yehuda Rechnitz (“Rechnitz”) was to resume paying the Kohn Policy premiums from
 12         2011 onwards. Defendant concealed this information from Plaintiffs.
 13   27.   According to information recently received by Plaintiffs an unsigned Amended and
 14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
 16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
 18         Plaintiffs would receive their $1,200,000.00.
 19                                           FRIEDMAN
 20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 21         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 22         Venture with Plaintiffs (the “Friedman Memo”). The purpose of the Friedman Memo,
 23         was to purchase a $1,500,000.00 life insurance Policy (“Friedman Policy”); American
 24         General on the life of Goldie Friedman (“Friedman”). In furtherance of the Friedman
 25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
 26         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
 27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
 28

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 Case2:23-bk-10990-SK
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                                      D Page Page
                                               8 of 723of 19


  1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
  2         of the proceeds).
  3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
  4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
  5         from the Mermelstein Trust to Robert & Esther Mermelstein.
  6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
  7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
  8         Michigan, without Plaintiff’s consent.
  9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
 10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
 11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
 12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
 13                                          ZIMMERMAN
 14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 15         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 16         Venture with Plaintiffs (the “Zimmerman Memo”). The purpose of the Zimmerman
 17         Memo, was to purchase a $9,000,000.00 life insurance Policy (“Zimmerman Policy”);
 18         American General Policy # US 0023738L on the life of Rozy Pearl Zimmerman
 19         (“Zimmerman”). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
 20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
 21         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
 23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
 24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
 26         from the Mermelstein Trust to Robert & Esther Mermelstein.
 27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
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 Case2:23-bk-10990-SK
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                                      D Page Page
                                               9 of 823of 19


  1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
  2         Zimmerman Policy to Life Capital Group, LLC (“LCG”) - without Plaintiffs’ consent - ,
  3         where Shlomo Yehuda Rechnitz (“Rechnitz”) was to resume paying the Zimmerman
  4         Policy premiums from 2011 onwards. Defendant concealed this information from
  5         Plaintiffs.
  6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
  7         (the “Zimmerman Trust”) issued three Non-Recourse Promissory Notes (the
  8         “Zimmerman Notes”) to Plaintiffs secured by the Zimmerman Policy in the amount of
  9         $2,357,679.50:
 10         a.      Non-Recourse Promissory Notes # 1, principal sum of $1,412,679.53, dated June
 11                 15, 2011 - due June 15, 2020 (the “$1,412,679.53 Zimmerman Note”);
 12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
 13                 December 7, 2009 - due December 7, 2019 (the: “$570,000.00 Zimmerman
 14                 Note”);
 15         c.      Non-Recourse Promissory Notes # 2, principal sum of $375,000.00, dated
 16                 January 14, 2010 - due January 14, 2020 (the “$375,000.00 Zimmerman Note”).
 17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
 18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
 19                 ($2,400,000.00 (Zimmerman Policy) + $2,357,679.50 (3 Zimmerman Notes) +
 20                 2,939,936.84 (interest) = $7,697,616.34.
 21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
 22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
 24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
 26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
 27         Plaintiffs.
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 Case2:23-bk-10990-SK
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                                     D PagePage 10 of923
                                                       of 19


  1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT’S IOLTA ACCOUNT
  2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
  3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
  4         monthly checks of $5,000.00 issued from Defendant’s IOLTA - Attorney Client Trust
  5         Account.
  6                     PLAINTIFFS’ DISCOVERY OF DEFENDANT’S FRAUD
  7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
  8         concealment.
  9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
 10         were “secure” when in reality, Defendant sold them off to third parties without Plaintiffs’
 11         consent:
 12         I received you e mail and I disagree. I paid in on the Zmerman policy over
            $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
 13         25%of the profits. You are well secured. You can call me if you have any
            questions. [Emphasis Added]
 14
      40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs’
 15
            monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
 16
            Rechnitz.
 17
            I got your email. I want to make it very clear we are family and I don’t want to
 18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
            LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
 19         case. I am not assigning the Zimmerman case to you. I am using the money from
            the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
 20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
            premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
 21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
 22                              PLAINTIFFS’ PROOF OF CLAIMS
 23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
 24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
 25         follows:
 26         a.     Claim # 19-1 (Garza) $500,000.00;
 27         b.     Claim # 20-1 (Times Square) $333,333.00;
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                                                    -9-
Case
 Case2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
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                                                                                    Desc
                         MainExhibit
                              Document
                                     D Page   Page
                                                11 of1023of 19


  1          c.     Claim # 21-1 (Ganz) $500,000.00;
  2          d.     Claim # 22-1 (Spitzer) $2,250,000.00;
  3          e.     Claim # 23-1 (Kohn) $1,200,000.00;
  4          f.     Claim # 24-1 (Friedman) $1,000,000.00; &
  5          g.     Claim # 25-2 (Zimmerman) $7,697,616.34.
  6                 TOTAL:           $13,480,949
  7                                   FIRST CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
  8
      42.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      43.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      44.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      45.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      46.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      47.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
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                                                     -10-
Case
 Case2:23-bk-10990-SK
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                                     D Page   Page
                                                12 of1123of 19


  1          than $13,480,949.
  2   48.    Defendant’s debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
  3          was incurred as a result of false pretenses, false representations, and actual fraud.
  4   49.    The damages arising from Defendant’s willful and malicious false pretenses, false
  5          representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
  6          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
  7                                 SECOND CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(4))
  8
      50.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      51.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      52.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      53.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      54.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      55.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 28

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  1          than $13,480,949.
  2   56.    The damages to Plaintiffs arising from Defendant’s fraud, defalcation, embezzlement and
  3          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
  4          non-dischargeable pursuant to 11 USC § 523(a)(4).
  5                                  THIRD CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(6))
  6
      57.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      58.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
  9
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 10
      59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 11
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 12
             business purposes and to refrain from using their funds and other property for his own
 13
             personal non-business purposes.
 14
      60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 15
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 16
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 17
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 18
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 19
             elder abuse.
 20
      61.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 21
             without their consent and fraudulent. Defendant acted with the intent to permanently
 22
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 23
      62.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 24
             funds and other property and Defendant’s false pretenses, false representations, and
 25
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 26
             than $13,480,949.
 27
      63.    The damages to Plaintiffs arising from Defendant’s willful and malicious injury to
 28

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  1          Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
  2          USC § 523(a)(6).
  3                                  FOURTH CAUSE OF ACTION
                         (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(A))
  4
      64.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  5
             in this Complaint as though fully set forth herein.
  6
      65.    Plaintiffs are informed and believe that within one year before the Petition, Defendant
  7
             transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
  8
             concealed, Defendant’s property.
  9
      66.    As of the dates of the transfers, removals, and/or concealments of Defendant’s property,
 10
             Defendant had one or more unsecured creditors.
 11
      67.    The transfers, removals, and/or concealments of Defendant’s property prevented the
 12
             distribution of Defendant’s property to Defendant’s unsecured creditors.
 13
      68.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
 14
             creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
 15
             concealed, or permitted to be transferred, removed, and/or concealed, Defendant’s
 16
             property.
 17
      69.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 18
             concealment of Defendant’s property with the intent to hinder, delay, and/or defraud at
 19
             least one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(A).
 20
      70.    Defendant failed to list valuable property on his schedule of assets and failed in his
 21
             statement of affairs to disclose property transfers.
 22
      71.    Defendant has a reckless indifference to the truth.
 23
                                       FIFTH CAUSE OF ACTION
 24                      (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(B))
 25   72.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 26          in this Complaint as though fully set forth herein.
 27   73.    Plaintiffs are informed and believe that After the Petition, Defendant transferred,
 28

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  1          removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
  2          property of the Bankruptcy estate.
  3   74.    As of the dates of the transfers, removals, and/or concealments of the property of the
  4          estate, Defendant had one or more unsecured creditors.
  5   75.    The transfers, removals, and/or concealments of the property of the estate prevented the
  6          distribution of this property to Defendant’s unsecured creditors.
  7   76.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
  8          creditors, transferred, removed, and/or concealed, or permitted to be transferred,
  9          removed, and/or concealed, property of the estate.
 10   77.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 11          concealment of estate property, with the intent to hinder, delay, and/or defraud at least
 12          one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(B).
 13   78.    Defendant failed to list valuable property on his schedule of assets and failed in his
 14          statement of affairs to disclose property transfers.
 15   79.    Defendant has a reckless indifference to the truth.
 16                                   SIXTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(3)
 17
      80.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 18
             in this Complaint as though fully set forth herein.
 19
      81.    Plaintiffs are informed and believe that Defendant has not maintained adequate books
 20
             and records from which Debtor’s financial condition can be ascertained. Debtor has
 21
             consistently not maintained adequate books and records. His failure to keep adequate
 22
             books and records is not justified considering the circumstances articulated in this
 23
             Complaint.
 24
      82.    Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
 25
             information from which Defendant’s financial condition and/or business transactions
 26
             might be ascertained.
 27
      83.    Defendant has not been cooperative with the Office of the United States Trustee
 28

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  1          ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
  2          documents, and/or other papers relating to Defendant’s property and/or financial affairs.
  3   84.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  4          727(a)(3).
  5                                SEVENTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(4)
  6
      85.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      86.    Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
  9
             omissions in his Bankruptcy filings. Defendant’s filings, such as his schedules and
 10
             statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
 11
             fraudulent intent.
 12
      87.    Defendant has a pattern of misleading conduct.
 13
      88.    Defendant has a reckless indifference to the truth.
 14
      89.    Defendant has failed to list assets in his schedules.
 15
      90.    Defendant has falsely testified in the 341 Meeting.2
 16

 17
       2
              At the 3-13-2023 341(a) Meeting, Defendant at circa 11:15 testified in response to
 18           omissions to be brought to the attention of the United States Trustee (“UST”), that
              there were only “three minor errors” which he thought that his attorney corrected.
 19
              Defendant testified that there were “no” errors related to any assets that he owns. At
 20           circa 12:52, Defendant testified that he identified all assets on his schedules.
              Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
 21           he received no commissions from his third-party life insurance deals. At circa
              1:20:18, Defendant testified that he has not ever collected money on his third-party
 22           life insurance deals. At circa 1:22:18, Defendant testified that he has never received
 23           a payoff on his third-party life insurance deals. At circa 1:23:21, Defendant testified
              that four people have died and that he has received no money. Defendant at circa
 24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
              in the last five or six months relating to the thirdparty life insurance policies, “nope.”
 25           Defendant testified that he does not remember paying the premiums for these
              policies out of his attorney client trust account at any time. Defendant at circa
 26
              1:40:03 testified that he does not remember depositing his own funds into his
 27           attorney-client trust account so that these insurance premiums could be paid. In
              response to the question of whether Defendant traveled out of the country anywhere
 28           recently, other than Israel, Defendant at circa 2:23:00 testified, “nope.” In response

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  1   91.    Defendant has knowingly and fraudulently made false oaths and/or accounts in the
  2          Bankruptcy Case.
  3   92.    Defendant has failed to provide records which are necessary for the OUST and his
  4          creditors to properly understand Defendant’s financial condition and/or recent business
  5          transactions.
  6   93.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  7          727(a)(4).
  8                                    EIGHTH CAUSE OF ACTION
                             (Objection to Debtor’s Discharge 11 USC § 727(a)(5)
  9
      94.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 10
             in this Complaint as though fully set forth herein.
 11
      95.    Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
 12
             Debtor’s liabilities. No determination has yet been made of an entitlement to a discharge
 13
             in this Bankruptcy Case.
 14
      96.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 15
             727(a)(5).
 16
                                          PRAYER FOR RELIEF
 17
             WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
 18
      1.     On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
 19
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 20
             excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
 21
      2.     On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
 22
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 23
             excepted from discharge pursuant to 11 USC § 523(a)(4);
 24
      3.     On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
 25

 26
              to the question of whether Defendant has bank accounts in Israel, Defendant at circa
 27           2:26:48 testified, “nope.” Defendant at circa 2:59:15 testified that he has not
              transferred any assets within the last year to a third party. Defendant at circa 2:59:33
 28           testified that he has not given any gifts more than $12,000.00 to his family.

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  1          indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
  2          excepted from discharge pursuant to 11 USC § 523(a)(6);
  3   4.     On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  4          pursuant to 11 USC § 727(a)(2)(A);
  5   5.     On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  6          pursuant to 11 USC § 727(a)(2)(B);
  7   6.     On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  8          pursuant to 11 USC § 727(a)(3);
  9   7.     On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
 10          discharge pursuant to 11 USC § 727(a)(4);
 11   8.     On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 12          pursuant to 11 USC § 727(a)(5);
 13   9.     For costs of suit incurred herein; and
 14   10.    For such other and further relief as the Court may deem appropriate.
 15
      DATED:        May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
 16                                                   A Professional Law Corporation
 17                                                   By     /S/ Baruch C. Cohen
                                                      Baruch C. Cohen, Esq.
 18                                                   Attorney For Creditors Robert & Esther
                                                      Mermelstein
 19

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 21

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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
  52%(57 (67+(50(50(/67(,1                                                      /(6/,(./(,1

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
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/$:2)),&(2)%$58&+&&2+(1$3URIHVVLRQDO/DZ&RUSRUDWLRQ
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PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ; 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                               Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,         01-Determination of removed claim or cause

       actual fraud                                                            Other
Ƒ; 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                    (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ 
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         /(6/,(./(,1                                                                EN6.
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                      NAME OF JUDGE
&HQWUDO'LVWULFWRI&DOLIRUQLD                                            /RV$QJHOHV                       .OHLQ
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                   ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                      NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                               %DUXFK&&RKHQ(VT



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
  A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501 Facsimile: (888) 316-6107
 Email: baruchcohen@baruchcohenesq.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LESLIE KLEIN
                                                                          CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ROBERT & ESTHER MERMELSTEIN




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 LESLIE KLEIN                                                                         [LBR 7004-1]




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 1                                   F 7004-1.SUMMONS.ADV.PROC
      Case
       Case2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                              Doc520-4
                                  1-1 Filed
                                          Filed05/12/23
                                                12/12/23 Entered
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                                                                                      Desc
                                  Exhibit
                                   SummonsD Page Page222of
                                                        of23
                                                           3


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




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December 2016                                                       Page 2                                   F 7004-1.SUMMONS.ADV.PROC
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                                                                              16:24:35 Desc
                                                                                        Desc
                                    Exhibit
                                     SummonsD Page Page233of
                                                          of23
                                                             3


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



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December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
